Case 19-10888-KHK        Doc 69    Filed 07/29/20 Entered 07/29/20 15:55:04             Desc Main
                                  Document      Page 1 of 2



                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MARK ANTHONY ANDERSON
                                                   Case No. 19-10888-KHK

                           Debtor

             OBJECTION TO CONFIRMATION OF MODIFIED PLAN,
         NOTICE OF OBJECTION TO CONFIRMATION OF MODIFIED PLAN
                                  AND
            NOTICE OF SCHEDULED HEARING ON THIS OBJECTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this objection to confirmation of
     your Modified Chapter 13 Plan filed June 22, 2020. The cause for this objection is as
     follows:
            Violation of 11 U.S.C. §1325(a)(6) – Feasibility and Violation of 11 U.S.C.
            §1325(b)(1)(B) – Disposable Income.
               • Debtor has not yet provided filed 2019 tax returns.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the objection, or if you
     want the court to consider your views on the objection, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before the date stated above. You must mail a copy to the
            persons listed below.
Case 19-10888-KHK       Doc 69 Filed 07/29/20 Entered 07/29/20 15:55:04                Desc Main
                              Document      Page 2 of 2
     Notice of Objection To Confirmation
     Mark Anthony Anderson, Case # 19-10888-KHK

            Attend the hearing to be held on August 20, 2020 at 1:30 p.m., in Courtroom
            III on the 3rd floor, United States Bankruptcy Court, 200 South Washington
            Street, Alexandria, VA 22314. If no timely response has been filed opposing
            the relief requested, the court may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste, 400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314


             If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion or objection and may enter an order granting that
     relief.

     Date: _July 29, 2020______                           __/s/Thomas P. Gorman ________
                                                          Thomas P. Gorman
                                                          Chapter 13 Trustee
                                                          300 N. Washington Street, #400
                                                          Alexandria, VA 22314
                                                          (703) 836-2226
                                                          VSB 26421

                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 29th day of July, 2020, served via ECF to authorized
     users or mailed a true copy of the foregoing Objection to Confirmation, Notice of
     Objection and Notice of Hearing to the following parties.

     Mark Anthony Anderson                         Nathan Fisher, Esq.
     Chapter 13 Debtor                             Attorney for Debtor
     1411 Admiral Drive                            Fisher-Sandler, LLC.
     Woodbridge, VA 22192                          3977 Chain Bridge Rd. #2
                                                   Fairfax, VA 22030


                                                          __/s/ Thomas P. Gorman______
                                                          Thomas P. Gorman
